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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                  McALLEN DIVISION

FRANCISCO LUEVANO                                       §
                                                        §
                                                        §     CIVIL ACTION NO.: _________________
VS.                                                     §
                                                        §     (JURY DEMANDED)
                                                        §
ETC MEXICANA SA de CV and                               §
SANTIAGO TORRES MORALES                                 §

                     PETITION PROVIDING NOTICE OF REMOVAL

TO THE HONORABLE UNITED STATES DISTRICT COURT:

        COME NOW Defendants ETC Mexicana SA de CV and Santiago Torres
Morales, pursuant to 28 U.S.C., §1446, filing this their Petition Providing Notice
of Removal and for cause show as follows:
                                                        I.
        Plaintiff Francisco Luevano instituted this civil action against Defendants
ETC Mexicana SA de CV and Santiago Torres Morales in the 389th District Court
of Hidalgo County, Texas. True copies of the process and pleadings from the state
court litigation are contemporaneously filed herewith (Index of Matters Being Filed,
Tabs 1, 2, 3 and 4).
                                                       II.
        This action is properly removable under 28 U.S.C., §1441(a) because the United
States District Court has original jurisdiction pursuant to 28 U.S.C., §1332(a)(2). This
action is timely removable pursuant to 28 U.S.C., §1446(b). Defendant first received
notice of this suit when it was served with Citation on June 20, 2017 and this removal
petition is filed within 30 days thereafter.
                                                       III.
        The Plaintiff is a natural person and resident of the State of Texas. Defendants
are a corporation of the nation of Mexico (ETC Mexicana SA de CV) and a citizen of the
nation of Mexico (Santiago Torres Morales).

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                                                       IV.
        Plaintiff pleads personal injuries arising from a motor vehicle accident occurring
on or about February 17, 2017. Plaintiff’s Original Petition, ¶ 10, recites that Plaintiff
seeks monetary damages “aggregating $100,000 or less”. The amount in controversy
satisfies the “threshold” requirements of 28 U.S.C., §1332(a). Defendants exercise
timely removal jurisdiction.
                                                        V.
        Notice of Removal to the United States District Court has been provided to the
389th District Court of Hidalgo County, Texas, from which this lawsuit originated and
to counsel for Plaintiff. All Defendants consent to this removal.
        WHEREFORE, PREMISES CONSIDERED, Defendants pray that this action
be removed to the United States District Court for the Southern District of Texas,
McAllen Division; that it be afforded judgment; and, for such other and further relief
that they may be entitled.

                                                     Respectfully submitted,

                                                     ADAMS & GRAHAM, L.L.P.
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                                                     P.O. Drawer 1429
                                                     Harlingen, TX 78551-1429
                                                     956/428-7495 (Phone)
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                                                     By:      _________________________________
                                                              WILLIAM L. POPE
                                                              State Bar No. 16139020
                                                              Federal (S. Dist. Tex.) Bar No. 8970
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                                                     Attorney-in-Charge for Defendants




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                                   CERTIFICATE OF SERVICE

      I hereby certify that on the 18th day of July, 2017, a true and correct copy of the
above and foregoing instrument was forwarded to the following counsel of record, to
wit:

        Ezequiel Reyna, Jr. Via Electronic Service: jparedes.zreynalaw@gmail.com
        Law Offices of Ezequiel Reyna, Jr., P.C.
        702 W. Expressway 83, Ste. 100
        Weslaco, TX 78596



                                                     _____________________________________________
                                                     WILLIAM L. POPE




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